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                      EXHIBIT B
             Board of Directors’ Resolutions




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  CERTIFIED COPY OF THE RESOLUTIONS OF THE BOARD OF DIRECTORS OF
                     NEXII BUILDING SYSTEMS INC.
                            (the “Company”)

I, PETER J MOGAN, Director and Chairman of the Board of the Company, hereby certify the
attached Resolutions of the Directors of the Company to be a true and exact copy of resolutions
passed at a meeting of the Directors of the Company duly called and with a quorum present, on
the 9th day of January, 2024, which said resolutions have not been amended and are still valid
and in full force and effect on the date hereof.

DATED the 9th day of January, 2024.



_________________________________________
Name: Peter J Mogan
Title: Director




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                           RESOLUTIONS OF THE BOARD OF DIRECTORS
                                              OF
                                NEXII BUILDING SOLUTIONS INC.
                                       (the "Corporation")


WHEREAS, the Corporation is having financial difficulties and is no longer able to meet its
obligations as they generally fall due.
AND WHEREAS, the directors of the Corporation deem it to be in the best interests of the
Corporation to initiate proceedings to restructure its business and affairs under the Companies’
Creditors Arrangement Act, R.S.C. 1985, c C-36 (“CCAA”).
AND WHEREAS, the directors of the Corporation deem it to be in the best interests of the
Corporation to obtain interim financing under the provisions of the CCAA (the “Interim
Financing”).
AND WHEREAS, as security for the obligations of the Corporation in respect of the Interim
Financing, the Corporation intends to mortgage, charge, assign, and otherwise transfer and
encumber and grant a security interest in all of the Corporation's present and future assets,
property and undertaking now or hereafter acquired (the “Property”)

NOW THEREFORE:

RESOLVED, that the Corporation be, and it hereby is, authorized and directed to (i) initiate
proceedings to seek protection from its creditors under the CCAA (the “Restructuring
Proceeding”), (ii) seek to have the Restructuring Proceeding and all court orders made therein
recognized in the United Status under Chapter 15, Title 11 of the United States Bankruptcy
Code; (iii) take such actions, steps and proceedings as may be necessary or desirable to effect a
restructuring of its business and affairs under the CCAA, including, without limitation, the
seeking of an initial order under the CCAA and effecting an orderly sale of some or all of its
assets or business; and (iv) retain and instruct Fasken Martineau DuMoulin LLP as legal counsel
to the Corporation in relation to the Restructuring Proceeding, KSV Restructuring Inc. to act as
monitor of the Corporation in the Restructuring Proceeding, and such other legal and other
professionals as are necessary to or desirable to give effect to these resolutions.

RESOLVED, that the Corporation be, and it hereby is, authorized and directed to obtain Interim
Financing from a lender and on terms acceptable to the Corporation.

RESOLVED, that the Corporation be, and it hereby is, authorized to secure the repayment of the
Interim Financing by mortgaging, charging, assigning and otherwise granting a security interest
in the Property in favour the lender advancing the Interim Financing (the “Security”).




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RESOLVED, that the Corporation be, and it hereby is, authorized and directed to execute and
deliver such documents, affidavits, agreements, certificates, waivers, consents, postponements or
instruments as may be contemplated by, or required to give effect to the Restructuring
Proceeding and the Interim Financing (collectively, the “Documents”).

RESOLVED, that the Chief Executive Officer ("Authorized Officer") be, and he hereby is,
authorized and empowered to execute and deliver the Documents, including all exhibits and
schedules attached thereto, in the name and on behalf of the Corporation with such additions,
deletions or changes therein as the Authorized Officer executing the same shall approve (the
execution and delivery thereof by any such Authorized Officer to be conclusive evidence of his
or her approval of any such additions, deletions or changes).

RESOLVED, that each of the Authorized Officers be, and each of them hereby is, authorized
and empowered to take all such further action and to execute and deliver all such further
documents, agreements, certificates, waivers, consents, postponements or instruments,
amendments, additions or deletions, in the name and on behalf of the Corporation (under its
corporate seal or otherwise) as they shall deem necessary, desirable or appropriate to
consummate, effectuate, implement, carry out or further the transactions contemplated by the
foregoing resolutions.




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